    Case 1:21-cv-02265-APM Document 159-2 Filed 08/10/22 Page 1 of 1
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June 22, 2022



Via First-Class Mail & Email

Jesse R. Binnall, Esq.
Binnall Law Group
717 King Street
Suite 200
Alexandria, VA 22314

Re:      Smith, et al., v. Trump, et al., 21-cv-2265-APM (D.D.C.)

Dear Mr. Binnall,

        I am counsel for Plaintiffs in the above-referenced action. Plaintiffs would
like to proceed with scheduling an initial conference pursuant to Federal Rule of
Civil Procedure 26(f) and District of D.C. Local Civil Rule 16.3 with you and the
other Defendants to this action.

       Please let me know your availability by July 8, 2022 so that we can proceed
with scheduling.

Sincerely,




Joshua S. Margolin
